Case:19-12400-JGR Doc#:112-1 Filed:09/06/19                           Entered:09/06/19 15:17:26 Page1 of 1




                                 UNITED STATE BANKRUPTCY COURT
                                  FOR THE DISTRICT OF COLORADO

 In re:                                                 )
                                                        )
 SKYFUEL, INC.,                                         )        Case No. 19-12400-JGR
                                                        )        Chapter 11
                     Debtor.                            )

        ORDER GRANTING MOTION TO APPROVE RETAINER TO AKERMAN LLP,
                        COUNSEL FOR THE DEBTOR

         THIS MATTER comes before the Court on the Motion (the “Motion”) to Approve Retainer
 to Akerman LLP (“Akerman”), Counsel for the Debtor,1 filed by SkyFuel, Inc., debtor and debtor-
 in-possession ("SkyFuel" or "Debtor"). No objections to the Motion have been filed. The Court,
 having reviewed the Motion and the entire record of this Case, finds that (i) the Court has
 jurisdiction over this matter and this matter constitutes a core proceeding under 28 U.S.C. §
 157(b)(2); (ii) sufficient notice of the Motion has been given and no other or further notice or
 opportunity to be heard is necessary or warranted; and (iii) good cause exists to extend the
 365(d)(4) Deadline as provided for herein, and therefore, it is hereby:

            1.       The Motion is GRANTED;

        2.      The Debtor is permitted to pay Akerman a retainer in the amount of $25,000 (the
 “Retainer”); and
        3.      Akerman is authorized to apply the Retainer to its fees, but only after such fees and
 expenses have been approved and authorized by this Court as required by 11 U.S.C. §§ 330 and
 331 or as may be allowed by a monthly or other interim compensation fee order.

            DATED this ___ day of _________, 2019.

                                                        BY THE COURT:


                                                        Bankruptcy Court Judge




 1
     Capitalized terms used but not otherwise defined herein shall have the meanings assigned to them in the Motion.


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